     Case 2:13-cr-00012-RMP    ECF No. 83   filed 03/01/13   PageID.447 Page 1 of 2




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3
                             UNITED STATES DISTRICT COURT
4                           EASTERN DISTRICT OF WASHINGTON
5
      UNITED STATES OF AMERICA,                )    No. CR-13-011-RMP
6                                              )    NO. CR-13-012-RMP-1
                        Plaintiff,             )
7                                              )    ORDER DENYING DEFENDANT’S
      v.                                       )    MOTIONS FOR RECONSIDERATION
8                                              )    OF DETENTION
      GREGORY D. JEFFREYS,                     )
9                                              )    R    MOTIONS DENIED
                        Defendant.             )    ECF 28 (CR-13–11-RMP)
10                                             )    ECF 75 & 80 (CR-13-012-RMP)

11   Date of bail review hearing: March 1, 2013

12         Before the court is defendant’s Motion to Re-Open and Amend the

13   Detention Issue.         The undersigned has considered the filings, oral

14   proffers and arguments of the parties.

15         Defendant argues that since the Spokane County Jail erroneously

16   released him on February 1st and he voluntarily surrendered, that

17   this is an indication there are a combination of conditions to

18   reasonably    assure     his   appearance     at   court    dates.     Under     the

19   preponderance standard, a substantial corporate surety bond and

20   electronic monitoring would reasonably assure his appearance.

21         However, as to the issues of supervisability and risk to the

22   community, insufficient information has been presented to reasonably

23   assure that defendant would not be a risk to the community.                      The

24   undersigned concludes that the earlier detention order should not be

25   disturbed.     There have been unsettling allegations of threats

26   related to the case agent and others.

27   Accordingly, the Motion is denied.

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     ORDER DENYING DEFENDANT’S MOTION FOR
     RECONSIDERATION OF DETENTION 1
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1          In addition, defendant shall not have contact, directly or
2    indirectly, with K.G.
3          IT IS ORDERED Defendant’s Motion for release from custody (ECF
4    No. 75) is DENIED.       Defendant shall remain in the custody of the
5    U.S. Marshal pending further order of the court.
6                DATED:   March, 2013
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8                               S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING DEFENDANT’S MOTION FOR
     RECONSIDERATION OF DETENTION 2
